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wEsTERN DivisioN tila ~ -

UN|TED STATES OF AMERICA,

 

Plaintiff, CR. NO. 05-20276-8
vs.

CHARLES R. SM|TH,

`_"~ui-ui\_¢"_¢`¢f\-d\_r'~_¢

Defendant.

O_R_DE
The United States having requested that the Court unseal the lindictmentl and
the Court being satisfied that sealing is no longer necessary, it is hereby
ORDERED that all of the above document' is UNSEALED.

Date:M_¢_ MM§J\

Niernphis, ennessee UN|TED STAT§ES IV|AGISTRATE JUbGE

APPROVED:
seph C. |\/lurphy
Assistant U. S. Attorney

 

 

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This notice confirms a copy of the document docketed as number 6 in
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Joseph C. Murphy

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Honorable J. Breen
US DISTRICT COURT

